Case:17-03725-EAG11 Doc#:97
                       IN THEFiled:06/16/18
                              UNITED STATES Entered:06/16/18
                                               BANKRUPTCY 15:46:25
                                                             COURT                                            Desc: Main
                            Document     Page 1OF
                            FOR THE DISTRICT    of 2PUERTO RICO


        IN RE:                                                                 CASE NUMBER: 17-03725 EAG

                                                                               CHAPTER 11
        ELIZABETH VEGA RAMOS &
        MARTIN RODRIGUEZ COLON
        Monticielo, F10 Calle 6, Caguas 00725
        SSN #xxx-xx-8084/xxx-xx-1157
                Debtor(s)

                                   D.I.P. OBJECTION TO HACIENDA FLORIDA CLAIM #10

       TO THE HONORABLE COURT:

                NOW COME the above named debtors, through the undersigned attorney and respectfully pray as follows:

                1. Debtors herewith object the claim filed by Hacienda Florida 830 Magnolia at claim #10 in the unsecured

       amount of $6,000,000.

                2. The claimant is not known by debtor and as such no monies are owed thereto.

                3. Debtor denies any debt owed to this claimant or to the claimant that is purported in the attachment.

                4. The amounts that have been claimed in the defective claim appear to be unliquidated and contingent and have

                not been determined by a competent court of law.

                4. The supporting attachment is in the Spanish language and has not been translated by a certified translator.

       The attachment relates to another person and not the claimant that has filed the claim.

                5. The purported supporting document in the Spanish language does not support any amount close to that which

       the purported supporting document discloses.

                6. Any amounts that may be owed to the true claimant is untimely, notwithstanding debtors’ denial of owing any

       such monies.

                WHEREFORE, debtors respectfully request that the Court disallow the claim upon notice herein given and

       opportunity for a hearing if an response is filed by Hacienda Florida 830 Magnolia.

                                   Within thirty (30) days after service as evidenced by the certification, and
                         an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if your were served
                         by mail, any party against whom this paper has been served, or any other party to the
                         action who objects to the relief sought herein, shall serve and file an objection or
                         other appropriate response to this paper with the Clerk’s office of the U.S.
                         Bankruptcy Court for the District of Puerto Rico. If no objection or other response
                         is filed within the time allowed herein, the paper will be deemed unopposed and may
                         be granted unless: (I) the requested relief is forbidden by law; (ii) the requested relief
                         is against public policy; or (iii) in the opinion of the Court, the interest of justice
                         requires otherwise.
        In re: Elizabeth Vega Doc#:97
Case:17-03725-EAG11           Ramos & Martin Rodríguez Colón Entered:06/16/18 15:46:25Case
                                        Filed:06/16/18                                     No. 17-03725
                                                                                         Desc:  Main EAG
        Page 2                         Document Page 2 of 2
                  CERTIFICATE OF SERVICE: I hereby certify that on June 16, 2018 I electronically filed the foregoing with

         the Clerk of the Court using the CM/ECF System which will send notification of such filing to all registered parties and

         I hereby certify that I have mailed by United States Postal Service the document to: Hacienda Florida 830 Magnolia, c/o

         Wanda I Marin Lugo, Esq. Hacienda Florida, 830 Magnolia, Yauco 00698

         Dated: June 16, 2018.
                                                               Respectfully Submitted,
                                                               /s/ L. A. Morales
                                                               LYSSETTE A MORALES VIDAL.
                                                               USDC PR #120011
                                                               L. A. MORALES & ASSOCIATES P.S.C.
                                                               VILLA BLANCA
                                                               76 AQUAMARINA
                                                               CAGUAS , PUERTO RICO 00725-1908
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